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AO 2458 (Rev.09/08)JudgmentinaCri
                                m inalCase
         Sheet1
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                                         UNITED STATESDISTRICTCOURT                        ENTEREO                    jgawoou
                                              DISTRICT OFNEVADA                                           CQhISEUMFTIEIOF1;gJCg
                                                                                             I
UNITED STATESOFAMERICA                       JUDGM ENT IN A CRIMINAL CAS                     l ggg yr gggj (
            vs.                                                                    '         l
ALIREZAAHMADI                                CASE NU
                                                   M BER
                                                       : 3:07-
                                                             cr-89
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                                             USM NUMBER: 41287-048
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                                                                                   :Y:
                                             Che 1Field-taan                            '-H-ZQ--
                                                                                               ZE--X=             -         DSPUTY
TH E DEFENDANT:                              DEFENDANT'SATTORNEY

(Vj pled guiltytothecharzecontainedintheAmended Supersedinnlnfonnation
( ) plednolocontenderetocountts)                              whichwasacceptedbythecourt.
( ) wasfoundguilty on countts)                                 afterapleaofnotguilty.
Thedefendantisadjudicated guiltyoftheseoffensets):
                                                                               D ate
Title & Section                   Nature ofOffense                             O ffense Ended                     Count

18U .S.C .4                       M isprision ofaFelony                        February 21,2008




        Thedefendantissentencedasprovidedinpages2through 4 ofthisjudgment.Thesentenceisimposedpursuant
to the Sentencing Reform Actof l984.

()      Thedefendanthasbeen foundnotguilty oncountts)
()      A1lremaininechareesaredismissedonthemotionoftheUnited States.
       IT IS ORDERED thatthe defendantm ustnotify theUnited StatesAttorney forthisdistlictwithin 30 daysofany
change ofnam e,residence,orm ailing addressuntila1lfines,restitution,costs,and specialassessm ents im posed by this
judgmentarefullypaid. lfordered topayrestitution,thedefendantmustnotifythe courtand United Statesattorney of
materialchangesin econom ic circum stances.

                                                               DECEM BER 8.2009
                                                               Date oflmposition ofJudgm ent




                                                               Signature ofJudge

                                                               LARRY R.HICK S
                                                               U.S.DISTRICT JU DGE
                                                               Nam eand Title ofJudge

                                                                       /> -4 <o 5
                                                               Llate
           Case 3:07-cr-00089-LRH-VPC                  Document 85          Filed 12/10/09   Page 2 of 4
AO 2458 (Rev.09.
               /
               08)Jud mcntinaCriminalCase
         Sheet4-Probatlon
DEFENDANT:                  ALIREZA AHM ADI                                                          Judgm ent.Page 2
CASE NUM BER:               3:07-cr-89-LRH(VPC)
                                                        PRO BA TIO N

       The defendantis hereby sentenced to probation for a tenn ofFIVEI(5)YEARS. lfthe defendantsuccessf-ullv
completestilree vearsofprobation.the Courtmav considerearlv term ination.

Thedefendantshallnotcornm itanotherfederal,state,orIocalclim e.

Thedefendantshallnotunlawfully possessacontrolled substance.Thedefendantshallrefrain from anyunlawfuluseofa
controlled substance.The defendantshallsubmitto one drugtestwithin l5 daysofrelease from imprisonm entand atleast
two periodic drug teststhereaher notto exceed 104 drug testsannually.Revocation ism andatory forrefusalto com ply.

(J) Theabovedrugtestingconditionissuspendedbasedonthecourtfsdeterminationthatthedefendantposesalow risk
    offuturesubstanceabuse.(Cheek,ifapplicable.)
    Thedefendantshallnotpossessafireann,ammunition,destructivedevice,oranyotherdangerousweapon.(Check,
    ifapplicable.)
(X) Thedefendantshallcooperatein thecollectionofDNA asdirectedbytheprobationoffice.(Check,ifapplicable.)
( ) ThedefendantshallcomplywiththerequirementsoftheSexOffenderRegistrationandNotitication Act(42U.S.C.
    j l6901,etseq.)asdirectedby theprobationoffice,theBureau ofPrisons,orany statesexoffenderregistration
    agency in which he or she resides,works,is a student,orwasconvicted ofa qualifying offense.(Check,if
    appiicable.)
( ) Thedefendantshallparticipatein anapprovedprogram fordomesticviolence.(Check,ifapplicable.)
       Ifthisjudgmentimposesafineorarestitution,itisaconditionofprobationthatthedefendantpayinaccordancewith
theScheduleofPaymentssheetofthisjudgment.
        The defendantm ustcomply with the standard conditionsthathavebeen adopted by thiscourtasw ellaswith any
additionalconditionson the attached page.

                                     STANDARD CO NDITION S OF SUPERVISION
        thedefendantshallnotleavethejudicialdistrictwithoutthepermissionofthecourtorprobationoffice'
        thedefendantshallreporttotheprobationofficeandshallsubmitatruthfulandcompletewrittenreportwithinthefirstiivedays
        ofeachm onth'
3)      thedefendantshallanswertruthfully al1inquiriesbytheprobation officeandfollow the instructionsoftheprobationoftice;
4)      thedefendantshallsupporthisorherdependantsand meetotherfam ilyresponsibilities' ,
5)      thedefendantshallworkregularlyatalawfuloccupation unlessexcusedbytheprobation officeforschooiing,training.orother
        acceptable reasons'
6)      thedefendantshallnotify theprobationofficeten dayspriorto any changein residenceorem ployment'  ,
7)      the defendantshallrefrain from excessive use ofalcoholand shallnotpurchase,possess.use,distribute oradministerany
        controlledsubstanceoranyparaphernaliarelated to any controlledsubstances exceptasprescribed by aphysician'.
8)      the defendantshallnotfrequentplaceswherecontrolled substancesareillegallysold used.distributed,oradministered'
                                                                                                                     .
9)      thedefendantshallnotassociatew ithanypersonsengagedin crim inalactivity,and shallnotassociatew ithanypersonconvicted
        ofafelony unlessgrantedperm ission todo soby theprobationoftice'
        thedefendantshallpermitaprobation ofticetovisithim orheratanytimeathomeorelsewhereandshallpermitcontiscation
        ofany contrabandobservedinplain view oftheprobation office'
        thedefendantshallnotify theprobation officewithin seventptwo hoursofbeingarrested orquestionedby alaw enforcement
        office;
        thedefendantshallnotenterintoany agreementtoactasaninform eroraspecialagentofalaw enforcem entagencywithoutthe
        pennission ofthecourt',and
        asdirected bytheprobationoftice.thedefendantshallnotify third partiesofrisksthatm aybeoccasionedby thedefendant's
        crim inalrecord orpersonalhistory orcharacteristics andshallperm ittheprobation office to makesuch notificationsand to
         confirm the defendant'scom pliancew ith such notification requirem ent.
           Case 3:07-cr-00089-LRH-VPC           Document 85   Filed 12/10/09   Page 3 of 4
AO 2458 (Rev.09/08)Jud!mentinaCriminalCase
         Sheet3-Supenused Release
DEFENDANT:                ALIREZA AHM ADI                                            Judgm ent.Page 3
CASE NUM BER:             3:07-cr-89-LRH(VPC)
                                      SPECIAL CONDITIO NS OF SUPERVISION

        CormuunitvService-Thedefendantshallcompleteonehundredfifty(150)hoursofconununityserkice,asapproved
        and directed by theprobation office.
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AO 2458 (Rev09/08)JudgmentinaCriminalCase
         Sheet5-CriminalM onctaryPcnalties
DEFENDANT:                ALIREZA AHM ADI                                                             Judgm ent-Page 4
CASE NIJMBER:             3:07-cr-89-LRH(VPC)
                                             CR IM INA L M O N ETAR Y PENA LTIES

        The defendantm ustpay thetotalcrim inalmonetary penaltiesundertheschedule ofpaym entson Sheet6.

                                    Assessm ent                      Fine                           Restitution

        Totals:                     $100.00                          SW AIVED                       $N/A
                                    Dueand payableinunediately.

()      OnmotionbytheGovenunent,IT ISORDERED thatthespecialassessmentimposedbytheCourtisremitted.
        The determ ination ofrestitution isdeferred until                        . An Am ended Judrnentin a Crim inalCase
        (AO 245C)willbeenteredaftersuch deternlination.
        Thedefendantshallmakerestitution (includingcommunityrestitution)tothefollowingpayeesintheamountlisted
        below .

        lfthedefendantm akesapartialpaym ent,each payee shallreceivean approxim ately proportioned paym ent,unless
        specifiedothenvisein thepriorityorderorpercentagepaymentcolumn below.However,pursuantto 18U.S.C.j
        3664(1),al1nonfederalvictimsmustbepaidbeforetheUnited Statesispaid.
Nam eofPavee                                   TotalLoss             Restitution Ordered            Prioritv ofPercentaee

Clerk,U .S.DistrictCourt
Attn:FinancialOftice
CaseN o.
333 LasV egasBoulevard,South
LasVegas,' N V 89101

TOTALS                                         $                     $


Restitution am ountordered pursuantto plea agreement: $

The defendantmustpay intereston restitution and a fine ofm ore than $2,500,tm lessthe restitution orfine ispaid in full
beforethetifteenthday afterthedateofjudgment,pursuantto 18U.S.C.j3612(9.Al1ofthepaymentoptionson Sheet6
maybesubjecttopenaltiesfordelinquency anddefault,pursuantto 18U.S.C.j3612(g).
The courtdetermined thatthedefendantdoesnothavethe ability to pay interestand itisordered that:

        the interestrequirementiswaived forthe:            )iine ( )restitution.
        theinterestrequirementforthe: ( )fine              )restitution ismodified asfollows:




*Findings forthetotalamountoflossesarerequired underChapters 109A,110,1l0A,and l13A ofTitle l8 foroffenses
com mitted on orafterSeptember13,1994 butbefore April23,1996.
